EXHIBIT A

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

LABORATORY CORPORATION OF
AMERICA HOLDINGS,
CASE NO. 1:14-cv-1029
_ Plaintiff,

-against- oO

CONSENT ORDER FOR PERMANENT
WILLIAM G. KEARNS, INJUNCTION

Defendant.

 

 

This matter comes before the Court on the request of Plaintiff Laboratory
Corporation of America Holdings (“LabCorp”) and Defendant William G. Kearns (“Kearns”) to
enter the within Consent Order for Permanent Injunction.

The parties have conferred, and in an effort to avoid unnecessary expense, time
and effort of both the parties and the Court, the parties have agreed to a full and final settlement
of their dispute which includes the entry of a consent injunction, as follows: |

NOW, THEREFORE, upon agreement of the parties and for good cause shown,
the Court hereby ORDERS that:

1. Through November 16, 2015, Kearns, his agents, servants, employees,
attorneys, and those persons in active concert or participation with him, including but not limited
to AdvaGenix, LLC, shall not, without the prior written consent of LabCorp, directly or
indirectly through a subordinate, co-worker, peer, or any other person or entity contact, solicit, or
communicate witha customer ot potential customer of LabCorp or its subsidiary or affiliated

companies with whom Kearns had contact while employed at LabCorp or its subsidiary and

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affiliated companies for the purpose of either (1) offering, selling, licensing, or providing the

same or substantially similar assays, commercial medical testing, or anatomical pathology

services offered and/or provided to such customer or potential customer by LabCorp or its

subsidiary and affiliated companies, or (2) influencing said customer or potential customer’s

decision on whether to purchase or use such assays, commercial medical testing, or anatomical

pathology services offered by LabCorp or its subsidiary and affiliated companies.

So ordered this day of March, 2015,

 

The Honorable Thomas D. Schroeder
United States District Court Judge

Agreed to this ____ day of March, 2015,

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